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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
MARIA ALEJANDRA CELIMEN SAVINO             )
and JULIO CESAR MEDEIROS NEVES,            )
                                           )
Petitioners-Plaintiffs,                   )
                                          )   20-cv-10617 WGY
       v.                                 )
                                          )
THOMAS HODGSON, et al.,                    )
                                          )
       Respondents-Defendants.            )
__________________________________________)


               DEFENDANTS’ NOTICE OF TRANSFER OUT OF BRISTOL

       Respondents-Defendants hereby provide the Court and opposing counsel with notice that

Marco Tulio Guerra Nolasco (for removal to El Salvadore), Brayan Alejandro Tarax-Villeda

(for removal to Guatemala), Oscar R. Hernandez-Andino (for removal to Honduras), and Cyril

Okoli (for removal to Nigeria) will be transferred out of the Bristol County House of Corrections

sometime after August 9, 2020 to facilitate their removal from the United States thereafter. They

have been tested for COVID-19 using an FDA-approved RT-PCR test received negative results. 1

With those transfers, the number of immigration detainees remaining at Bristol County House of

Corrections will be 48.




       1
          FDA has approved a number of vendors’ tests on an interim basis pursuant to what it
calls an Emergency Use Authorization or “EUA.” Upon information and belief, this is a fast-
track review process that does not lead to a complete approval, but instead a temporary
emergency approval in light of the pandemic. See, e.g., https://www.fda.gov/emergency-
preparedness-and-response/mcm-legal-regulatory-and-policy-framework/emergency-use-
authorization (accessed 5/28/20). Defendants understand the Court’s order to include EUA-
approved tests as acceptable.
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                                                     Respectfully submitted,

                                                     ANDREW E. LELLING,
                                                     United States Attorney


                                               By:   /s/ Thomas E. Kanwit
                                                     Thomas E. Kanwit
                                                     Michael Sady
                                                     Assistant U.S. Attorneys
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       August 5, 2020                                thomas.kanwit@usdoj.gov




                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                                     /s/ Thomas E. Kanwit
Dated: August 5, 2020                                Thomas E. Kanwit
